




Filed 11/21/16 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2016 ND 217







In the Matter of the Emelia Hirsch, June 9, 1994, Irrevocable Trust 



------------------------



Timothy Betz, 		Respondent and Appellant



v.



Emelia A. Hirsch, aka 

Emelia Hirsch, aka Emilia 

Hirsch, 									 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petitioner



and 



Carolyn Twite and Duane Hirsch, 		Petitioners and Appellees







No. 20160189







Appeal from the District Court of Burleigh County, South Central Judicial District, the Honorable Gail Hagerty, Judge.



AFFIRMED.



Per Curiam.



Sheldon A. Smith and David J. Smith, P.O. Box 460, Bismarck, ND 58502-0460, for petitioners and appellees; on brief.



Timothy &nbsp;Betz, self-represented, 5118 Hayden Ln., Fayetteville, NC 28304, respondent and appellant; on brief.

Matter of Emelia Hirsch Trust

No. 200160189



Per Curiam.

[¶1]	
Timothy Betz appealed from a district court order denying a motion to vacate an earlier order which reformed a trust. &nbsp;Because Betz raises the same issues on appeal as in a previously controlling decision from this Court, we affirm under N.D.R.App.P. 35.1(a)(1) and (7). &nbsp;
See
 
In re Emelia Hirsch, June 9, 1994, Irrevocable Trust
, 2009 ND 135, 770 N.W.2d 225. &nbsp;We further order Timothy Betz to pay attorney’s fees of $1,000 plus double costs under N.D.R.App.P. 38. &nbsp;On this record, we decline to bar Timothy Betz from filing further motions concerning this trust without prior approval of a presiding district court judge when the trustees have not yet asked the district court to do so.

[¶2]	Gerald W. VandeWalle, C.J.

Lisa Fair McEvers

Carol Ronning Kapsner

Daniel J. Crothers

Thomas E. Merrick, D.J.



[¶3]	The Honorable Thomas Merrick, D.J., sitting in place of Sandstrom, J., disqualified.	


